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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 ----------------------------------------------------------x
 DOROTHY FIGUROWSKI,

                                                                 Index No. 2:14-cv-07032-JS-AKT

                                    Plaintiff,                   AMENDED
                                                                 JOINT PRE-TRIAL ORDER
         -against-

 MARBIL INVESTORS, LLC.,
 WILLIAM J. CHRISTIE, EMMETT CHRISTIE,
 and BARBARA LIEB, as aider and abettor

                                     Defendants.
 ------------------------------------------------------------x
 ROGER FIGUROWSKI,

                                                                 Index No. 2:14-cv-07034-JS-AKT

                                    Plaintiff,

         -against-

 MARBIL INVESTORS, LLC.,
 WILLIAM J. CHRISTIE, EMMETT CHRISTIE,
 and BARBARA LIEB, as aider and abettor

                                     Defendants.
 ------------------------------------------------------------x

                                              TRIAL COUNSEL
 Plaintiffs’ Counsel

 Anthony V. Merrill, Esq;
 Neil M. Frank, Esq.
 Patricia Boland Esq.
 Frank & Associates, P.C.
 500 Bi-County Blvd., 465
 Farmingdale, New York 11735
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 E-mail: amerrill@laborlaws.com
          nfrank@laborlaws.com
          pboland@laborlaws.com
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 Defendants’ Counsel
 Frank W. Brennan, Esq.                                 Gregory S. Lisi, Esq.
 Forchelli, Curto, Deegan,                              Forchelli, Curto, Deegan,
 Schwartz, Mineo & Terrana, LLP                         Schwartz, Mineo & Terrana, LLP
 333 Earle Ovington Boulevard, Suite 1010               333 Earle Ovington Boulevard, Suite 1010
 Uniondale, New York 11553                              Uniondale, New York 11553
 516-248-1700                                           516-248-1700
 fbrennan@forchellilaw.com                              glisi@forchellilaw.com

                              SUBJECT MATTER JURISDICTION

         In regard to Dorothy Figurowski’s claims, the Court has jurisdiction over this action
 pursuant to 29 U.S.C. § 201 et seq. and 28 U.S.C. § 1331 supplemental jurisdiction over Dorothy
 Figurowski’s state law claims pursuant to 28 U.S.C. § 1367. Dorothy Figurowski’s claims arise
 under federal question jurisdiction as she alleges her rights were violated pursuant to the Fair
 Labor Standards Act 29 U.S.C. §207 (“FLSA”), and New York State Labor Law §650
 (“NYLL”), for failure to pay proper minimum and overtime wages. Plaintiff also brings this
 action for quantum meriut under New York common law.

         In regard to Roger Figurowski’s claims, the Court has jurisdiction over this action
 pursuant to 29 U.S.C. §621 and 28 U.S.C. § 1331 supplemental jurisdiction over Plaintiff’s state
 law claims pursuant to 28 U.S.C. § 1367. Plaintiff’s claims arise under federal question
 jurisdiction as he alleges his rights were violated pursuant to the Age Discrimination and
 Employment Act of 1967 (“ADEA”), 29 U.S.C. §621. Plaintiff’s state claims arise under the
 New York State Human Rights Law (“NYSHRL”), NY Exec. Law § 296 et seq. Plaintiff also
 brings this action for breach of contract under New York common law.

 Defendants’ Claim of Lack of Subject Matter Jurisdiction
         In regard to Dorothy Figurowski’s claims, the Defendants are not statutory employers
 under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 207, thus this Court should dismiss
 the Plaintiff’s complaint and should not exercise jurisdiction in the instant matter. Similarly, the
 Defendants are not an “enterprise engaged in commerce.” 29 U.S.C. § 203(s)(1)(A)(i)-(ii), thus
 this Court should dismiss the Plaintiff’s complaint and should not exercise jurisdiction in the
 instant matter.

         In regard to Roger Figurowski’s claims, the Plaintiff has failed to state, failed to set forth
 a prima facie case and cannot support a claim of age discrimination and or retaliation under the
 Age Discrimination in Employment Act of 1967 (“ADEA”), 29 U.S.C. §621 et seq., thus this
 Court should dismiss the Plaintiff’s complaint and should not exercise jurisdiction in the instant
 matter. Similarly, Plaintiff has failed to set forth a prima facie case and cannot support a claim of
 age discrimination and or retaliation under the New York State Human Rights Law
 (“NYSHRL”), NY Exec. Law § 296 et seq., thus this Court should dismiss the Plaintiff’s
 complaint and should not exercise supplemental jurisdiction over Plaintiff’s state law claims in
 the instant matter. The Plaintiff has failed to state a claim for New York State common law

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 breach of contract, failed to allege that he fully performed and cannot support a claim for New
 York State common law breach of contract, thus this Court should dismiss the Plaintiff’s
 complaint and should not exercise supplemental jurisdiction over Plaintiff’s state law claims in
 the instant matter.
                                 CLAIMS FOR RELIEF

         Plaintiff Dorothy Figurowski brings this action pursuant to the FLSA and NYLL, because
 Defendants failed to pay her proper wages throughout her employment. Specifically, Defendants
 failed to compensate her for any hours worked and only paid her a $200.00 “bonus” each time
 she rented out an apartment.

         Plaintiff Roger Figurowski brings this action pursuant to the ADEA and NYSHRL,
 because his employment was unlawfully terminated due to his age. Plaintiff Roger Figurowski
 also claims Defendants breached their contract with him by unlawfully terminating his
 employment.

 Defendants Claims and Defenses to be Tried

         In regard to Dorothy Figurowski’s claims, the Defendants are not statutory employers
 under the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 207. The Defendants are not an
 “enterprise engaged in commerce.” 29 U.S.C. § 203(s)(1)(A)(i)-(ii). The Plaintiff Dorothy
 Figurowski was a volunteer who, without promise or expectation of compensation, but solely for
 her own personal purpose of concealing that her husband was no longer qualified for the position
 he held with the Defendant Marbil. The Plaintiff Dorothy Figurowski is not owed any wages or
 any other monies for any hours worked or services rendered to the Defendants. The Plaintiff
 Dorothy Figurowski was not an employee of the Defendants and, thus, the Defendants were not
 required to maintain payroll records for the Plaintiff Dorothy Figurowski under Section 195 of
 the New York Labor Law. The Plaintiff Dorothy Figurowski did not engage in any protected
 activity and did not do so while the Plaintiff Dorothy Figurowski was an employee of the
 Defendants. The Plaintiff Dorothy Figurowski not was not subject to any retaliation as a result
 of having engaged in any protected activity and did not engage in any such purported activity
 while the Plaintiff Dorothy Figurowski was an employee of the Defendants. The purported
 retaliatory acts alleged by Plaintiff Dorothy Figurowski do not rise to the level of an adverse
 employment action to support a claim for retaliation. The Plaintiff Dorothy Figurowski’s
 quantum meruit claim is frivolous as the Plaintiff Dorothy Figurowski has an adequate statutory
 remedy.

         In regard to Roger Figurowski’s claims, the Plaintiff was not subject to any age
 discrimination or any adverse employment action resulting in any discriminatory animus due to
 the Plaintiff’s age. The Defendants further maintain that they had a legitimate non-discriminatory
 reason for terminating the Plaintiff’s employment as the Plaintiff was no longer qualified for his
 position and was engaging in theft of corporate assets and services. Furthermore, the Plaintiff did
 not engage in any protected activity while the Plaintiff was an employee and was not subject to
 any retaliation as a result of having engaged in any protected activity while the Plaintiff was an
 employee and any purported retaliatory acts alleged by Plaintiff preceded the Plaintiff’s alleged
 engagement in any purported protected activity and such acts and/or omissions do not rises to the

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 level of an adverse employment action to support a claim for retaliation. Finally, the Defendants
 further maintain that the Plaintiff Roger Figurowski failed to perform all of his contractual
 obligations in vacating the apartment by removing fixtures and, thus breached any agreement by
 which he was to receive any further severance payments from the Defendants.

                                   JURY/ LENGTH OF TRIAL

        Plaintiffs requests that this action is to be tried before a jury. We estimate this trial will

 take four (4) days.

                                 JUDGE/MAGISTRATE JUDGE

        The parties do not consent to a trial before a Magistrate Judge.

                                STIPULATION OF FACTS/ LAW

        The parties have not stipulated to any facts or law.

                                            WITNESSES

        Plaintiffs anticipate calling the following witnesses:


 1.     Roger Figurowski- c/o Frank & Associates, P.C. Mr. Figurowski will testify as to the
 days and amount of hours Plaintiff worked, her job duties, her job performance, her length of
 employment, and her bonuses received by Defendants.

 2.      Dorothy Figurowski- c/o Frank & Associates, P.C. Mrs. Figurowski will testify as to the
 days and amount of hours she worked, all emails she sent in correspondence to her employment,
 the lack of wages she received and bonuses she received for renting out apartments.

         Plaintiff reserves the right to call any and all of Defendants' witnesses in any order.
 Plaintiffs do not intend to call an expert witness.

 Defendants’ Witnesses
 1    Defendant Mr. Emmett P.         Mr. Christie, as a
      Christie                        Defendant and as owner’s
                                      representative for
                                      Defendant, Marbil
                                      Investors, LLC, in regard
                                      to the Greenbrier Luxury
                                      Garden Apartments, shall
                                      testify as to the Plaintiffs
                                      employment; lack of
                                      qualification to hold the

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                                 position of superintendent;
                                 termination; unlawful and
                                 dangerous occupation of
                                 non-residential areas;
                                 unlawful, unauthorized
                                 and dangerous occupation
                                 of apartment 311-3; theft
                                 of services and utilities;
                                 Plaintiffs failure to
                                 perform all of the
                                 obligations required under
                                 any purported severance
                                 agreement; the lack of any
                                 discriminatory animus
                                 based upon Plaintiffs age;
                                 lack of any retaliation
                                 based upon Plaintiffs
                                 counsel’s complaint of
                                 age discrimination; lack of
                                 any intent, act and or
                                 omission by Barbara Lieb
                                 to aid and abet any
                                 retaliatory acts resulting
                                 from Plaintiffs counsel’s
                                 complaint of age
                                 discrimination.

 2    Defendant Mr. William J.   Mr. Christie, as a
      Christie                   Defendant and as owner’s
                                 representative for
                                 Defendant, Marbil
                                 Investors, LLC, in regard
                                 to the Greenbrier Luxury
                                 Garden Apartments, shall
                                 testify as to the Plaintiffs
                                 employment; lack of
                                 qualification to hold the
                                 position; termination;
                                 unlawful, unauthorized
                                 and dangerous occupation
                                 of apartment 311-3; theft
                                 of services and utilities;
                                 unlawful and dangerous
                                 occupation of non-
                                 residential areas; Plaintiffs
                                 failure to perform all of

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                                the obligations required
                                under any purported
                                severance agreement; the
                                lack of any discriminatory
                                animus based upon
                                Plaintiffs age; lack of any
                                retaliation based upon
                                Plaintiffs counsel’s
                                complaint of age
                                discrimination; lack of
                                any intent, act and or
                                omission by Barbara Lieb
                                to aid and abet any
                                retaliatory acts resulting
                                from Plaintiffs counsel’s
                                complaint of age
                                discrimination.

 3    Defendant, Barbara Lieb   Ms. Lieb, as a Defendant,
                                and as Defendant, Marbil
                                Investors, LLC’s, property
                                manager, shall testify as to
                                the Plaintiffs lack of
                                employment by the
                                Defendants; unauthorized
                                and dangerous occupation
                                of apartment 311-3; theft
                                of services and utilities;
                                unlawful and dangerous
                                occupation of non-
                                residential areas and the
                                securing the door to and
                                access granted to the
                                basement storage/laundry
                                room that the Plaintiffs,
                                were occupying without
                                paying rent.

 4    Defendant, Marbil         Mr. James Bagger, as the
      Investors LLC’s,          Defendant, Marbil
      Employee Mr. James        Investors, LLC’s,
      Bagger                    replacement
                                superintendent shall
                                testify as to the securing
                                the door to and access
                                granted to the basement

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                                      storage/laundry room that
                                      the Plaintiffs, was
                                      occupying without paying
                                      rent.


        Defendants reserve the right to call any and all of Plaintiffs' witnesses in any order.

                                     DEPOSITION DESIGNATIONS

        Plaintiffs’ Statement:

         Plaintiffs does not intend to offer deposition testimony in support of their case in chief,
 but reserve the right to do so, should a witness become unavailable or if needed to impeach a
 witness.

 Defendants’ Deposition Transcript Identification


  #      Name Of Witness               Transcript Page           Objection            Basis for
                                       Identification                                 Objection
  1      Roger Figurowski              Page 12, line 13          Relevance
                                       through Page 13, line
                                       8
                                       Page 13, line 21
                                       through Page 14, line
                                       13
                                       Page 14, lines 3 - 16
                                       Page 15, line 9
                                       through Page 17 line
                                       25
                                       Page 20, line 4
                                       through Page 22 line      Relevance,
                                       14                        prejudice

                                       Page 22, line 7 - 14      Relevance
                                       Page 43, line 5
                                       through Page 44, Line
                                       8
                                       Page 44, line 5-11

                                                   7
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                              Page 44, lines 13
                              through 17
                              Page 79, line 22 - 25
                              Page 81, line 12-23
                              Page 82 line 24
                              through Page 85, line
                              20
                              Page 84, line 2-22       Relevance
                              Page 85, line 2-25
                              Page 98, lines 4 - 14
                              Page 102, line 4
                              through Page 104 line
                              21
                              Page 107, line 14 - 22
                              Page 108, line 5 - 20
                              Page 111, line 22
                              through Page 113,
                              line 21
                              Page 117, lines 2 - 18
                              Page 121, line 5
                              through Page 122,
                              line 4
                              Page 132, line 17 - 24
                              Page 132, line 17
                              through Page 133,
                              line 15
                              Page 133, lines 2 - 7
                              Page 134, lines 2 - 13
                              Page 139, lines 20
                              through Page 140,
                              line 25



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                              Page 142, line 17
                              through Page 143,
                              line 15
                              Page 159, lines 22 -
                              25
                              Page 162, line 5 - 8
                              Page 163, line 8 - 23
                              Page 207, line 15
                              through Page 209,
                              line 19


  2     Dorothy Figurowski    Page 13, line 17
                              through Page 45 line
                              20
                              Page 44, line 5-11
                              Page 44, line 6
                              through Page 45 line
                              20
                              Page 45, lines 12-20
                              Page 55, line 6-25
                              Page 56, line 8-16
                              Page 57, lines 5-17
                              Page 64, lines 15-23
                              Page 69, lines 17
                              through Page 72 line
                              5
                              Page 70 lines 15- 25
                              Page 72, line 17
                              through Page 73 line
                              6
                              Page 81, line 12-23



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                              Page 82 line 24
                              through Page 85, line
                              20
                              Page 84, lines 2-22
                              Page 85, line 2-19
                              Page 91 line 13
                              through Page 92 line
                              4
                              Page 98, line 4-18
                              Page 102, line 4
                              through Page 104 line
                              21
                              Page 115, lines 6-14
                              Page 115, line 22
                              through Page 117,
                              line 18
                              Page 121 line 18
                              through Page 122 line
                              25
                              Page 124, line 22
                              through Page 125 line
                              25
                              Page 130, line 22
                              through Page 137 line
                              3
                              Page 132, lines 12 -24
                              Page 134, lines 2 -13
                              Page 135, line 22
                              through Page 136 line
                              22
                              Page 167, line 19
                              through Page 168 line
                              14



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                              Page 178, line 10
                              through Page 179 line
                              11
                              Page 180, line 9
                              through Page 187 line
                              22
                              Page 181, lines 13 -23
                              Page 187, lines 18-22
                              Page 188 lines 5-8
                              Page 189, lines 5 - 22
                              Page 189, line 23
                              through Page 191,
                              line 12
                              Page 191, line 2-22
                              Page 198, lines 20-24
                              Page 201, line 10
                              through Page 207,
                              line 25
                              Page 207, line 15
                              through Page 208 line
                              22
                              Page 208, line 17
                              through Page 209 line
                              23
                              Page 209, line 20
                              through Page 211 line
                              11
                              Page 213, lines 11-16
                              Page 215, line 19
                              through Page 216 line
                              7
                              Page 224, line 21
                              through Page 225 line
                              12

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                                     Page 225, line 13-20
                                     Page 226, lines 4-8
                                     Page 225, line 13-20
                                     Page 242, line 2
                                     through 243, Line 8
                                     Page 262, line 3-15
                                     Page 265, lines 19-24
                                     Page 277 lines 4-16

                                       PLAINTIFFS’ EXHIBITS

         1.    Plaintiff Roger Figurowski’s First Amended Complaint.

         2.    Plaintiff Dorothy Figurowski’s First Amended Complaint

         3.    Answer to Plaintiff Roger Figurowski’s First Amended Complaint.

         4.    Answer to Plaintiff Dorothy Figurowski’s First Amended Complaint.

         5.    Defendants' Response to Plaintiff Roger Figurowski’s First Set of Interrogatories.

         6.    Defendants' Response to Plaintiff Dorothy Figurowski’s First Set of Interrogatories.

         7.    Defendants' Response to Plaintiff Roger Figurowski’s First Request for the
               Production of Documents.

         8.    Defendants' Response to Plaintiff Dorothy Figurowski’s First Request for the
               Production of Documents.

         9.    Email from Emmett Christie to William Christie, Bates Stamp No. 481.

         10.   Rental Fee documents, bates stamped No. 250

         11.   Receipts for purchases for Defendants apartment building, bates stamped document
               No’s. 245-249.

         12.   Emails to Dorothy Figurowski, bates stamped documents No’s. 296- 333.

         13.   Memo to Roger and Dorothy Figurowski, dated September 25, 2013, bates stamped
               document No. P100.

         14.   Emails from Plaintiff to Defendants, bates stamped documents P101-117.



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          15.    Email from Plaintiff to John Horyczyn, dated February 7, 2014, bates stamped
                 document P118-119.

          16.    Email exchange between Plaintiffs and Defendants, dated January 2014, bates stamp
                 No.’s P122-P124.

          17.    Email exchange between Plaintiffs and Defendants, dated February-March 2014, bates
                 stamp No.’s P125-P127.

 Defendants’ Objections to Plaintiffs’ Exhibits


  #      Exhibit Description            Objection                    Basis for Objection
  15     Email from Plaintiff to John   Hearsay, Authenticity,
         Horyczyn, dated February 7,    Relevance
         2014, bates stamped
         document P118-119.



 Defendants’ Exhibit List


  #      Exhibit Description            Objection                    Basis for Objection
  1      Roger Figurowski’s             Relevance
         Amended Complaint.




  2      Defendants’ Answer to
         Roger Figurowski’s
         Amended Complaint.

  3      Mortgage note obtained by      Relevance, Authenticity
         Roger and Dorothy
         Figurowski from
         Greenpoint Mortgage
         Funding, Inc. filed in the
         bankruptcy proceeding in
         the United States
         Bankruptcy Court for the
         Eastern District of New
         York, Index No. 09- BK-
         73729.

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  4     The bankruptcy schedule    Relevance
        filed by Roger and Dorothy
        Figurowski in the
        bankruptcy proceeding in
        the United States
        Bankruptcy Court for the
        Eastern District of New
        York, Index No. 09- BK-
        73729.
  5     The affidavit of income        Relevance
        filed by Dorothy
        Figurowski, certifying her
        occupation as a
        homemaker, in the
        bankruptcy proceeding in
        the United States
        Bankruptcy Court for the
        Eastern District of New
        York, Index No. 09- BK-
        73729.
  6     October 29, 2013 e-mail
        from Plaintiff stating the
        new boilers installed at the
        Greenbrier Luxury Garden
        Apartments complex was
        too high tech for the
        Plaintiff. (Bates 765).
  7     December 24, 2012, check
        stubs identifying a
        Christmas bonus of one
        weeks’ wages to Plaintiff.
        (Bates 190).
  8     July 17, 2013 check to
        Dorothy Figurowski in the
        sum of $800.00 for four
        rented apartments. (Bates
        703).




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  9
        Check stubs identifying the
        sum total of $2,400.00,
        paid to Dorothy Figurowski
        by Robert Thek for
        assisting in the rental of 12
        apartments. (Bates 245-49).
  10    An invoice for $350.00
        provided to Robert Thek by
        Dorothy Figurowski for her
        three sons shoveling snow
        during a blizzard. (Bates
        702).
  11    An invoice for Roger        Relevance, Authenticity
        Figurowski’s, car insurance
        provided to Robert Thek by
        Dorothy Figurowski.
        (Bates 701).
  12    August 12, 2013, e-mail
        correspondence from
        Defendant, Emmet
        Christie, to Dorothy
        Figurowski advising that
        the bonus arrangement that
        she had worked out with
        Robert Thek, to perform
        the rental work, that was
        part of Roger Figurowski’s
        job responsibilities, had not
        been approved by
        Defendant, Marbil, and
        would cease immediately.
        (Bates 693).
  13    December 27, 2013, check
        stubs identifying a
        Christmas bonus of one
        weeks’ wages to Plaintiff.
        (Bates 190).




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  14    January 27, 2014, letter
        from the Defendants to
        Roger Figurowski advising
        that the unauthorized
        occupancy and illegal
        wiring of apartment 311-3
        were illegal and extremely
        hazardous to the tenants of
        the entire building and put
        Roger Figurowski on
        notice that Defendant,
        Marbil, was evaluating his
        future employment status
        and notifying him that a
        decision would be rendered
        based on the serious
        infractions. (Bates 501).
  15    April 15, 2014, invoice       Relevance, Authenticity
        from Island Professional
        for service charge for
        repairing pump on master
        boiler installed backwards.
        (Bates 485).
  16    Four photographs of the     Authenticity
        repair of the illegal pass
        through from apartment
        311-2 to 311-3. (Bates 360-
        363).
  17    May 2, 2014, letter from
        the Defendants to Roger
        Figurowski advising of the
        termination of his
        employment with
        severance package
        schedule of payments and
        copies of severance checks.
        (Bates 478-80).




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  18    Photograph of washing         Authenticity
        machine area in the storage
        room occupied by Plaintiff.
        (Bates 260).
  19    Photograph of personal        Relevance, Authenticity
        belongings of Plaintiff.
        (Bates 261).

  20    Five photographs of the       Relevance, Authenticity
        exercise room occupied by
        Plaintiff. (Bates 288-292).

  21    June 2, 2014                  Relevance, Hearsay
        correspondence from
        plaintiff’s counsel. (Bates
        453).
  22    June 10, 2014                 Relevance, Hearsay
        correspondence from
        plaintiff’s counsel. (Bates
        459).
  23    June 16, 2014, Email
        correspondence between
        Plaintiff and Defendant,
        Emmet P. Christie. (Bates
        461).
  24    Dorothy Figurowski’s
        Amended Complaint.


  25    Deposition transcript of      Relevance
        Dorothy Figurowski.
  26    Defendants’ discovery
        demands served upon
        Roger and Dorothy
        Figurowski.
  27    Roger and Dorothy
        Figurowski’s respective
        and collective discovery
        responses and document
        production.

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  28     Deposition transcript of       Relevance
         Roger Figurowski.
  29     Deposition transcript of       Relevance
         Dorothy Figurowski.

 RELIEF SOUGHT

 Plaintiffs

         Unpaid wages and other compensation duly owed to Plaintiff Dorothy Figurowski for
 worked performed for Defendants, throughout the entirety of her employment, plus pre- and -
 post judgment interest, and liquidated damages.
         Lost wages, back pay, front pay, and all employee benefits Plaintiff Roger Figurowski
 would have received, but for, his unlawful termination, plus pre- and -post judgment interest, and
 liquidated damages.
 Defendant

         The Defendants, Marbil Investors, LLC, William J. Christie, and Emmett Christie
 respectfully request that the Plaintiff’s complaint be dismissed with prejudice, together with such
 other and further relief as the Court deems just and proper.


 SO ORDERED.

                                                      ____________________________
                                                                U.S.D.J.
 Dated: Central Islip, New York

        ____________, 2017




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